

















IN THE COURT OF CRIMINAL APPEALS


OF TEXAS






NO. WR-63,726-01






BOBBY W. MCGILVEARY, Relator



v.



TARRANT COUNTY DISTRICT CLERK, Respondent








ON APPLICATION FOR A WRIT OF MANDAMUS 


FROM TARRANT COUNTY            






		Per curiam.



O R D E R



	This is an original application for a writ of mandamus.

	Relator contends that he filed an application for writ of habeas corpus in the 396th 
Judicial District Court, but that the application has not been forwarded to the Court of
Criminal Appeals even though more than thirty-five days have elapsed.  Relator's
contentions present a colorable claim to have prompt resolution of any grounds raised in
such an application.

	It is this Court's opinion that additional information is required before a decision
can be reached.  Therefore, the respondent, District Clerk of Tarrant County, is ordered to
file with this Court within thirty days a response by submitting the record on such
application or a copy of an order designating issues to be investigated, see McCree v.
Hampton, 824 S.W.2d 578 (Tex. Crim. App. 1992), or by stating the nature of any
applications filed by Relator such that they are not filed pursuant to Tex. Code Crim.
Proc. art. 11.07, § 3, or that no applications by Relator have been filed.

	IT IS SO ORDERED this the 26th day of April, 2006

DO NOT PUBLISH

	

	


